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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                             Case No.: 1:17-md-2804-DAP

 This document relates to:                     Honorable Dan Aaron Polster

 All Cases



            CASE MANAGEMENT ORDER NO.               2      : PROTECTIVE ORDER
       I. Scope of Order

       1.     Disclosure and discovery activity in this proceeding may involve production

of confidential, proprietary, and/or private information for which special protection from

public disclosure and from use for any purpose other than prosecuting this litigation would

be warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter

the following Stipulated Protective Order (“Protective Order” or “Order”). Unless otherwise

noted, this Order is also subject to the Local Rules of this District and the Federal Rules of

Civil Procedure on matters of procedure and calculation of time periods. Unless otherwise

stated, all periods of time provided for in this Order are calculated as calendar days

       2.        This Protective Order shall govern all hard copy and electronic materials,

the information contained therein, and all other information produced or disclosed during

this proceeding, captioned as In re: National Prescription Opiate Litigation (MDL No.

2804), Case No. 1:17-CV-2804, which includes any related actions that have been or will

be originally filed in this Court, transferred to this Court, or removed to this Court and

assigned there (“the Litigation”).   All materials produced or adduced in the course of


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discovery, including all copies, excerpts, summaries, or compilations thereof, whether

revealed in a document, deposition, other testimony, discovery response or otherwise, by

any Party to this Litigation (the “Producing Party”) to any other party or parties (the

“Receiving Party”). This Protective Order is binding upon all the Parties to this Litigation,

including their respective corporate parents, subsidiaries and affiliates and their respective

attorneys, principals, agents, experts, consultants, representatives, directors, officers, and

employees, and others as set forth in this Protective Order.

       3.        Third parties who so elect may avail themselves of, and agree to be bound

by, the terms and conditions of this Protective Order and thereby become a Producing

Party for purposes of this Protective Order.

       4.        The entry of this Protective Order does not preclude any party from

seeking a further order of this Court pursuant to Federal Rule of Civil Procedure 26(c).

       5.        Nothing herein shall be construed to affect in any manner the

admissibility at trial or any other court proceeding of any document, testimony, or other

evidence.

       6.        This Protective Order does not confer blanket protection on all

disclosures or responses to discovery and the protection it affords extends only to the

specific information or items that are entitled to protection under the applicable legal

principles for treatment as confidential.

       II. Definitions

       7.     Party. “Party” means any of the parties in this Litigation at the time this

Protective Order is entered, including officers and directors of such parties. If additional

parties are added other than parents, subsidiaries or affiliates of current parties to this

Litigation, then their ability to receive Confidential Information and/or Highly Confidential
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Information as set forth in this Protective Order will be subject to them being bound, by

agreement or Court Order, to this Protective Order.

       8.     Discovery Material. “Discovery Material” means any information, document,

or tangible thing, response to discovery requests, deposition testimony or transcript, and

any other similar materials, or portions thereof. To the extent that matter stored or

recorded in the form of electronic or magnetic media (including information, files,

databases, or programs stored on any digital or analog machine-readable device,

computers, Internet sites, discs, networks, or tapes) (“Computerized Material”) is produced

by any Party in such form, the Producing Party may designate such matters as confidential

by a designation of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” on the media.

Whenever any Party to whom Computerized Material designated as CONFIDENTIAL or

HIGHLY CONFIDENTIAL is produced reduces such material to hardcopy form, that Party

shall mark the hardcopy form with the corresponding “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL” designation.

       9.     Competitor. Competitor means any company or individual, other than the

Designating Party, engaged in the design; development; manufacture; regulatory review

process; dispensing; marketing; distribution; creation, prosecution, pursuit, or other

development of an interest in protecting intellectual property; and/or licensing of any

product or services involving opioids; provided, however, that this section shall not be

construed as limiting the disclosure of Discovery Material to an Expert in this Litigation, so

long as the notice required under Paragraph 38 is provided to the Designating Party prior

to any such disclosure where required, and so long as no Discovery Material produced by

one Defendant is shown to any current employee or consultant of a different Defendant,


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except as provided in Paragraphs 33 or 34.

        10.   Confidential Information. “Confidential Information” is defined herein as

information that the Producing Party in good faith believes would be entitled to protection

on a motion for a protective order pursuant to Fed. R. Civ. P. 26(c) on the basis that it

constitutes, reflects, discloses, or contains information protected from disclosure by statute

or that should be protected from disclosure as confidential personal information, medical

or psychiatric information, personnel records, Confidential Protected Health Information,

protected law enforcement materials (including investigative files, overdose records,

narcane, coroner’s records, court records, and prosecution files), research, technical,

commercial or financial information that the Designating Party has maintained as

confidential, or such other proprietary or sensitive business and commercial information

that is not publicly available. Public records and other information or documents that are

publicly available may not be designated as Confidential Information.         In designating

discovery materials as Confidential Information, the Producing Party shall do so in good

faith consistent with the provisions of this Protective Order and rulings of the Court.

Nothing herein shall be construed to allow for global designations of all documents as

“Confidential.”

        11.   Highly Confidential Information. “Highly Confidential Information” is defined

herein as information which, if disclosed, disseminated, or used by or to a Competitor of

the Producing Party or any other person not enumerated in Paragraphs 32 and 33, could

reasonably result in possible antitrust violations or commercial, financial, or business

harm.     In designating discovery materials as Highly Confidential Information, the

Producing Party shall do so in good faith consistent with the provisions of this Protective


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Order and rulings of the Court. Nothing herein shall be construed to allow for global

designations of all documents as “Highly Confidential.”

         12.   Manufacturer Defendant: Manufacturer Defendant means any Defendant in

this litigation that manufactures any Opioid Product for sale or distribution in the United

States.

         13.   Distributor Defendant: Distributor Defendant means any Defendant in this

litigation that distributes any Opioid Product in the United States other than a product they

manufacture or license for manufacture.

         14.   Retail Defendant: Retail Defendant means any Defendant in this litigation

that sells or distributes any Opioid Product directly to consumers in the United States.

         15.   Receiving Party. “Receiving Party” means a Party to this Litigation, and all

employees, agents, and directors (other than Counsel) of the Party that receives

Discovery Material from a Producing Party.

         16.   Producing Party. “Producing Party” means a Party to this Litigation, and all

directors, employees, and agents (other than Counsel) of the Party or any third party that

produces or otherwise makes available Discovery Material to a Receiving Party, subject to

paragraph 3.

         17.   Protected Material. “Protected Material” means any Discovery Material, and

any copies, abstracts, summaries, or information derived from such Discovery Material,

and any notes or other records regarding the contents of such Discovery Material, that is

designated as “Confidential” or “Highly Confidential” in accordance with this Protective

Order.

         18.   Outside Counsel. “Outside Counsel” means any law firm or attorney who
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represents any Party for purposes of this litigation.

         19.   In-House Counsel. “In-House Counsel” means attorney employees of any

Party.

         20.   Counsel. “Counsel,” without another qualifier, means Outside Counsel and

In- House Counsel.

         21.   Independent Expert. “Independent Expert” means an expert and/or

independent consultant formally retained, and/or employed to advise or to assist Counsel

in the preparation and/or trial of this Litigation, and their staff who are not employed by a

Party to whom it is reasonably necessary to disclose Confidential Information or Highly

Confidential Information for the purpose of this Litigation.

         22.   This Litigation. “This Litigation” means all actions in MDL No. 2804, In re:

National Prescription Opiate Litigation or hereafter subject to transfer to MDL No. 2804.

         III. Designation and Redaction of Confidential Information

         23.   For each document produced by the Producing Party that contains or

constitutes Confidential Information or Highly Confidential Information pursuant to this

Protective Order, each page shall be marked “CONFIDENTIAL—SUBJECT TO

PROTECTIVE ORDER”, or “HIGHLY CONFIDENTIAL—SUBJECT TO PROTECTIVE

ORDER” or comparable notices.

         24.   Specific discovery responses produced by the Producing Party shall, if

appropriate, be designated as Confidential Information or Highly Confidential Information

by marking the pages of the document that contain such information with the notation

“CONFIDENTIAL—SUBJECT               TO      PROTECTIVE         ORDER”,      or     “HIGHLY

CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER” or comparable notices.
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       25.    Information disclosed through testimony at a deposition taken in connection

with this Litigation may be designated as Confidential Information or Highly Confidential

Information by designating the portions of the transcript in a letter to be served on the

court reporter and opposing counsel within thirty (30) calendar days of the Producing

Party’s receipt of the certified transcript of a deposition. The court reporter will indicate the

portions designated as Confidential or Highly Confidential and segregate them as

appropriate. Designations of transcripts will apply to audio, video, or other recordings of

the testimony. The court reporter shall clearly mark any transcript released prior to the

expiration of the 30-day period as “HIGHLY CONFIDENTIAL—SUBJECT TO FURTHER

CONFIDENTIALITY REVIEW.” Such transcripts will be treated as Highly Confidential

Information until the expiration of the 30-day period. If the Producing Party does not serve

a designation letter within the 30-day period, then the entire transcript will be deemed

not to contain Confidential Information or Highly Confidential Information and the

“HIGHLY CONFIDENTIAL—SUBJECT TO FURTHER CONFIDENTIALITY REVIEW”

legend shall be removed.

       26.    In accordance with this Protective Order, only the persons identified under

Paragraphs 33 and 34, below, along with the witness and the witness’s counsel may be

present if any questions regarding Confidential Information or Highly Confidential are

asked. This paragraph shall not be deemed to authorize disclosure of any document or

information to any person to whom disclosure is prohibited under this Protective Order.

       27.    A Party in this Litigation may designate as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL” any document, material, or other information produced by, or testimony

given by, any other person or entity that the designating Party reasonably believes


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qualifies as the designating Party’s Confidential Information or Highly Confidential

Information pursuant to this Protective Order. The Party claiming confidentiality shall

designate the information as such within thirty (30) days of its receipt of such information.

Any Party receiving information from a third party shall treat such information as Highly

Confidential during this thirty (30) day period while all Parties have an opportunity to

review the information and determine whether it should be designated as confidential. Any

Party designating third party information as Confidential Information or Highly Confidential

Information shall have the same rights as a Producing Party under this Protective Order

with respect to such information.

      28.    This Protective Order shall not be construed to protect from production or to

permit the “Confidential Information” or “Highly Confidential Information” designation of any

document that (a) the party has not made reasonable efforts to keep confidential, or (b) is

at the time of production or disclosure, or subsequently becomes, through no wrongful act

on the part of the Receiving Party or the individual or individuals who caused the

information to become public, generally available to the public through publication or

otherwise.

      29.    In order to protect against unauthorized disclosure of Confidential

Information and Highly Confidential Information, a Producing Party may redact certain

Confidential or Highly Information from produced documents, materials or other things.

The basis for any such redaction shall be stated in the Redaction field of the metadata

produced pursuant to the Document Production Protocol or, in the event that such

metadata is not technologically feasible, a log of the redactions.          Specifically, the

Producing Party may redact:


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              (i) Personal Identifying Information. The names, home addresses, personal

email addresses, home telephone numbers, Social Security or tax identification numbers,

and other private information protected by law of (a) current and former employees (other

than employees’ names and business contact information) and (b) individuals in clinical

studies or adverse event reports whose identity is protected by law.

               (ii) Privileged Information.   Information protected from disclosure by the

attorney-client privilege, work product doctrine, or other such legal privilege protecting

information from discovery in this Litigation. The obligation to provide, and form of, privilege

logs will be addressed by separate Order.

              (iii)   Third Party Confidential Information.   If agreed to by the Parties or

ordered by the Court under Paragraph 78, information that is protected pursuant to

confidentiality agreements between Designating Parties and third parties, as long as the

agreements require Designating Parties to redact such information in order to produce such

documents in litigation.

       30.    To the extent any document, materials, or other things produced contain

segregated, non-responsive Confidential or Highly Confidential Information concerning a

Producing Party’s non-opioid products (or, in the case of Plaintiffs, concerning programs,

services, or agencies not at issue in this litigation), the Producing Party may redact that

segregated, non-responsive, Confidential or Highly Confidential information except (a) that

if a Producing Party’s non-opioid product is mentioned in direct comparison to the

Producing Party’s opioid product, then the name and information about that product may

not be redacted or (b) if the redaction of the name and information about the Producing

Party’s non-opioid product(s) would render the information pertaining to Producing Party’s

opioid product meaningless or would remove the context of the information about
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Producing Party’s opioid product, the name and information about the other product may

not be redacted. Nothing in this paragraph shall restrict Plaintiffs’ right and ability to

request information about such other products nor restrict Defendants’ right to object to or

otherwise seek protection from the Court concerning any such request.

       31.      Pursuant to 21 C.F.R. §§ 314.430(e) & (f) and 20.63(f), the names of any

person or persons reporting adverse experiences of patients and the names of any

patients who were reported as experiencing adverse events that are not redacted shall be

treated as confidential, regardless of whether the document containing such names is

designated as CONFIDENTIAL INFORMATION. No such person shall be contacted, either

directly or indirectly, based on the information so disclosed without the express written

permission of the Producing Party.

       IV. Access to Confidential and Highly Confidential Information

       32.      General. The Receiving Party and counsel for the Receiving Party shall not

disclose or permit the disclosure of any Confidential or Highly Confidential Information to

any third person or entity except as set forth in Paragraphs 33 and 34.

       33.      In the absence of written permission from the Producing Party or an order of

the Court, any Confidential Information produced in accordance with the provisions of this

Protective Order shall be used solely for purposes of this Litigation (except as provided by

Paragraph 33.l) and its contents shall not be disclosed to any person unless that person

falls within at least one of the following categories:

             a. Outside Counsel and In-House Counsel, and the attorneys, paralegals,

                stenographic, and clerical staff employed by such counsel;

             b. Vendor agents retained by the parties or counsel for the parties, provided

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     that the vendor agrees to be bound by this Protective Order and completes

     the certification contained in Exhibit A, Acknowledgment and Agreement to

     Be Bound;

  c. Individual Parties;

  d. Present or former officers, directors, and employees of a Party, provided that

     former officers, directors, or employees of the Designating Party may be

     shown documents prepared after the date of his or her departure only to the

     extent counsel for the Receiving Party determines in good faith that the

     employee’s assistance is reasonably necessary to the conduct of this

     Litigation and provided that such persons have completed the certification

     contained in Exhibit A, Acknowledgment and Agreement to Be Bound.

     Nothing in this paragraph shall be deemed to permit the showing of one

     defendant’s Confidential Information to an officer, director, or employee of

     another defendant, except to the extent otherwise authorized by this Order;

  e. Stenographic employees and court reporters recording or transcribing

     testimony in this Litigation;

  f. The Court, any Special Master appointed by the Court, and any members of

     their staffs to whom it is necessary to disclose the information;

  g. Formally retained independent experts and/or consultants, provided that the

     recipient agrees to be bound by this Protective Order and completes the

     certification contained in Exhibit A, Acknowledgment and Agreement to Be

     Bound;

  h. Any individual(s) who authored, prepared, or previously reviewed or received

     the information;

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  i.   To the extent contemplated by Case Management Order One, dated April

       11, 2018 (Dkt. No. 232), those liability insurance companies from which any

       Defendant has sought or may seek insurance coverage to (i) provide or

       reimburse for the defense of the Litigation and/or (ii) satisfy all or part of any

       liability in the Litigation.

  j.   State or federal law enforcement agencies, but only after such persons have

       completed the certification contained in Exhibit A, Acknowledgment and

       Agreement to Be Bound. Disclosure pursuant to this subparagraph will be

       made only after the Designating Party has been given ten (10) days’ notice

       of the Receiving Party’s intent to disclose, and a description of the materials

       the Receiving Party intends to disclose. If the Designating Party objects to

       disclosure, the Designating Party may request a meet and confer and may

       seek a protective order from the Court.

  k. Plaintiff’s counsel of record to any Plaintiff with a case pending in MDL 2804

       shall be permitted to receive the Confidential Information of any Producing

       Party regardless of whether that attorney is counsel of record in any

       individual action against the Producing Party and there shall be no need for

       such counsel to execute such acknowledgement because such counsel is

       bound by the terms of this Protective Order;

  l.   Counsel for claimants in litigation pending outside this Litigation and arising

       from one or more Defendants’ manufacture, marketing, sale, or distribution

       of opioid products for use in this or such other action in which the Producing

       Party is a Defendant in that litigation, provided that the proposed recipient

       agrees to be bound by this Protective Order and completed the certification

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               contained in Exhibit A, Acknowledgment and Agreement to Be Bound.

               Plaintiffs’ Liaison Counsel shall disclose to all Defendants at the end of each

               month a cumulative list providing the identity of the counsel who have

               executed such acknowledgements and will receive Confidential and Highly

               Confidential Information pursuant to this Order and a list of the case

               name(s), number(s), and jurisdiction(s) in which that counsel represents

               other claimants.      Neither the receipt of information pursuant to this

               paragraph nor the provision of the certification shall in any way be deemed a

               submission, by the claimant represented by counsel in such outside

               litigation, to the jurisdiction of this Court or any other federal court or a

               waiver of any jurisdictional arguments available to such claimant, provided,

               however, that any such recipient of documents or information produced

               under this Order shall submit to the jurisdiction of this Court for any

               violations of this Order.; or

            m. Witnesses during deposition, who may be shown, but shall not be permitted

               to retain, Confidential Information; provided, however, that, unless otherwise

               agreed by the relevant Parties or ordered by the Court, no Confidential

               Information of one defendant may be shown to any witness who is a current

               employee of another defendant who is not otherwise authorized to receive

               the information under this Order.

      34.      In the absence of written permission from the Producing Party or an order of

the Court, any Highly Confidential Information produced in accordance with the provisions

of this Protective Order shall be used solely for purposes of this Litigation (except as

provided by Paragraph 34.j) and its contents shall not be disclosed to any person unless
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that person falls within at least one of the following categories:

          a. Outside Counsel and In-House Counsel of any Plaintiff, and the attorneys,

              paralegals, stenographic, and clerical staff employed by such counsel.

              Information designated as Highly Confidential by any Defendant may be

              disclosed to one In-House counsel of another Defendant, provided that the

              In-House counsel (i) has regular involvement in the Litigation, (ii) disclosure

              to the individual is reasonably necessary to this Litigation, and (iii) the

              individual    completes     the   certification   contained   in    Exhibit   A,

              Acknowledgment and Agreement to Be Bound.                Except as otherwise

              provided in this Order or any other Order in this Litigation, no other

              Employees of a Defendant may receive the Highly Confidential information

              of another.    Any information designated as Highly Confidential shall be

              disclosed to an In-House Counsel for any Plaintiff only to the extent Outside

              Counsel for that Plaintiff determines in good faith that disclosure to the In-

              House Counsel is reasonably necessary to the Litigation;

          b. Vendor agents retained by the parties or counsel for the parties, provided

              that the vendor agrees to be bound by this Protective Order and completes

              the certification contained in Exhibit A, Acknowledgment and Agreement to

              Be Bound;;

          c. Individual Parties that have produced the designated information;

          d. Stenographic employees and court reporters recording or transcribing

              testimony in this Litigation;

          e. The Court, any Special Master appointed by the Court, and any members of

              their staffs to whom it is necessary to disclose the information;
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  f. Formally retained independent experts and/or consultants, provided that the

       recipient agrees to be bound by this Protective Order and completes the

       certification contained in Exhibit A, Acknowledgment and Agreement to Be

       Bound;

  g. Any individual(s) who authored, prepared or previously reviewed or received

       the information;

  h. State or federal law enforcement agencies, but only after such persons have

       completed the certification contained in Exhibit A, Acknowledgment and

       Agreement to Be Bound. Disclosure pursuant to this subparagraph will be

       made only after the Designating Party has been given ten (10) days’ notice

       of the Receiving Party’s intent to disclose, and a description of the materials

       the Receiving Party intends to disclose. If the Designating Party objects to

       disclosure, the Designating Party may request a meet and confer and may

       seek a protective order from the Court.

  i.   Plaintiff’s counsel of record to any Plaintiff with a case pending in MDL 2804

       shall be permitted to receive the Confidential Information of any Producing

       Party regardless of whether that attorney is counsel of record in any

       individual action against the Producing Party and there shall be no need for

       such counsel to execute such acknowledgement because such counsel is

       bound by the terms of this Protective Order;

  j.   Counsel for claimants litigation pending outside this Litigation and arising

       from one or more Defendants’ manufacture, marketing, sale, or distribution

       of opioid products for use in this or such other action in which the Producing

       Party is a Defendant in that litigation, provided that the proposed recipient

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                 agrees to be bound by this Protective Order and completes the certification

                 contained in Exhibit A, Acknowledgment and Agreement to Be Bound.

                 Plaintiffs’ Liaison Counsel shall disclose to all Defendants at the end of each

                 month a cumulative list providing the identity of the counsel who have

                 executed such acknowledgements and will receive Confidential and Highly

                 Confidential Information pursuant to this Order and a list of the case

                 name(s), number(s), and jurisdiction(s) in which that counsel represents

                 other claimants.     Neither the receipt of information pursuant to this

                 paragraph nor the provision of the certification shall in any way be deemed a

                 submission, by the claimant represented by counsel in such outside

                 litigation, to the jurisdiction of this Court or any other federal court or a

                 waiver of any jurisdictional arguments available to such claimant; or

              k. Witnesses during deposition, who may be shown, but shall not be permitted

                 to retain, Highly Confidential Information; provided, however, that, unless

                 otherwise agreed by the relevant Parties or ordered by the Court, no Highly

                 Confidential Information of one defendant may be shown to any witness who

                 is a current employee of another defendant who is not otherwise authorized

                 to receive the information under this Order.

       35.       With respect to documents produced to Plaintiffs, documents designated as

“HIGHLY CONFIDENTIAL” will be treated in the same manner as documents

designated “CONFIDENTIAL,” except that Plaintiffs may not disclose Highly Confidential

Information to In-House Counsel (or current employees) of any Competitor of the

Producing Party, except as otherwise provided in this Order or any other Order in this

Litigation.
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       36.    In the event that In-House Counsel (or current employees) of any Competitor

of the Producing Party is present at the deposition of an employee or former employee of

the Producing Party, prior to a document designated as Highly Confidential being used in

the examination, such In-House Counsel (current employees) of any Competitor of the

Producing Party shall excuse himself or herself from the deposition room without delaying

or disrupting the deposition.

       V. Confidentiality Acknowledgment

       37.    Each person required under this Order to complete the certification

contained in Exhibit A, Acknowledgment and Agreement to Be Bound, shall be provided

with a copy of this Protective Order, which he or she shall read, and, upon reading this

Protective Order, shall sign an Acknowledgment, in the form annexed hereto as Exhibit A,

acknowledging that he or she has read this Protective Order and shall abide by its terms.

These Acknowledgments are strictly confidential. Unless otherwise provided in this Order,

Counsel for each Party shall maintain the Acknowledgments without giving copies to the

other side. The Parties expressly agree, and it is hereby ordered that, except in the event

of a violation of this Protective Order, there will be no attempt to seek copies of the

Acknowledgments or to determine the identities of persons signing them. If the Court finds

that any disclosure is necessary to investigate a violation of this Protective Order, such

disclosure will be pursuant to separate court order. Persons who come into contact with

Confidential Information or Highly Confidential Information for clerical or administrative

purposes, and who do not retain copies or extracts thereof, are not required to execute

Acknowledgements, but must comply with the terms of this Protective Order.




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       VI. Litigation Experts and Consultants.

       38.    Formally Retained Independent Experts and Consultants.             Subject to the

provisions of this Protective Order, all Confidential Information or Highly Confidential

Information may be disclosed to any formally retained independent expert or consultant

who has agreed in writing pursuant to Paragraph 37 or on the record of a deposition to be

bound by this Protective Order. The party retaining an independent expert or consultant

shall use diligent efforts to determine if the independent expert or consultant is currently

working with or for a Competitor of a Producing Party in connection with a Competitor’s

opioid product. Prior to the initial disclosure of any information designated as Confidential

Information or Highly Confidential Information to an expert or consultant who is currently

working with or for a Competitor of the Producing Party in connection with a Competitor’s

opioid product, the party wishing to make such a disclosure (“Notifying Party”) shall

provide to counsel for the Producing Party in writing, which may include by e- mail, a

statement that such disclosure will be made, identifying the general subject matter

category of the Discovery Material to be disclosed, providing the nature of the affiliation

with the Competitor entity and name of the Competitor entity, and stating the general

purpose of such disclosure; the specific name of the formally retained independent expert

or consultant need not be provided. The Producing Party shall have seven (7) days from

its receipt of the notice to deliver to the Notifying Party its good faith written objections (if

any), which may include e-mail, to such disclosure to the expert or consultant.

       39.    Absent timely objection, the expert or consultant shall be allowed to receive

Confidential and Highly Confidential Information pursuant to the terms of this Protective

Order. Upon and pending resolution of a timely objection, disclosure to the expert or


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consultant shall not be made. If the Notifying Party desires to challenge to the Producing

Party’s written objection to the expert or consultant, the Notifying Party shall so inform the

Producing Party in writing, within ten (10) days of receipt of the Producing Party’s written

objection, of its reasons for challenging the objection. The expert or consultant shall then

be allowed to receive Confidential and Highly Confidential Information pursuant to the

terms of this Protective Order after seven (7) days from receipt of the Producing Party’s

timely challenge to the written objection to the expert or consultant, unless within that

seven day period, the Producing Party seeks relief from the Court pursuant to the

procedures for discovery disputes set forth in Section 9(o) of Case Management Order

One, or the Parties stipulate to an agreement. Once a motion is filed, disclosure shall not

occur until the issue is decided by the Court and, if the motion is denied, the appeal period

from the Court order denying the motion has expired. In making such motion, it shall be

the Producing Party’s burden to demonstrate good cause for preventing such disclosure.

       VII. Protection and Use of Confidential and Highly Confidential Information

       40.    Persons receiving or having knowledge of Confidential Information or Highly

Confidential Information by virtue of their participation in this proceeding, or by virtue of

obtaining any documents or other Protected Material produced or disclosed pursuant to

this Protective Order, shall use that Confidential Information or Highly Confidential

Information only as permitted by this Protective Order. Counsel shall take reasonable

steps to assure the security of any Confidential Information or Highly Confidential

Information and will limit access to such material to those persons authorized by this

Protective Order.

       41.       Nothing herein shall restrict a person qualified to receive Confidential


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Information and Highly Confidential Information pursuant to this Protective Order from

making working copies, abstracts, digests and analyses of such information for use in

connection with this Litigation and such working copies, abstracts, digests and analyses

shall be deemed to have the same level of protection under the terms of this Protective

Order. Further, nothing herein shall restrict a qualified recipient from converting or

translating such information into machine-readable form for incorporation in a data

retrieval system used in connection with this Litigation, provided that access to such

information, in whatever form stored or reproduced, shall be deemed to have the same

level of protection under the terms of this Protective Order.

       42.       All persons qualified to receive Confidential Information and Highly

Confidential Information pursuant to this Protective Order shall at all times keep all

notes, abstractions, or other work product derived from or containing Confidential

Information or Highly Confidential Information in a manner to protect it from disclosure not

in accordance with this Protective Order, and shall be obligated to maintain the

confidentiality of such work product and shall not disclose or reveal the contents of said

notes, abstractions or other work product after the documents, materials, or other thing, or

portions thereof (and the information contained therein) are returned and surrendered

pursuant to Paragraph 46. Nothing in this Protective Order requires the Receiving Party’s

Counsel to disclose work product at the conclusion of the case.

       43.       Notwithstanding any other provisions hereof, nothing herein shall restrict

any Party’s Counsel from rendering advice to that Counsel’s clients with respect to this

proceeding or a related action in which the Receiving Party is permitted by this Protective

Order to use Confidential Information or Highly Confidential Information and, in the course

thereof, relying upon such information, provided that in rendering such advice, Counsel

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shall not disclose any other Party’s Confidential Information or Highly Confidential

Information other than in a manner provided for in this Protective Order.

       44.       Nothing contained in this Protective Order shall prejudice in any way the

rights of any Party to object to the relevancy, authenticity, or admissibility into evidence of

any document or other information subject to this Protective Order, or otherwise constitute

or operate as an admission by any Party that any particular document or other information

is or is not relevant, authentic, or admissible into evidence at any deposition, at trial, or in

a hearing

       45.       Nothing contained in this Protective Order shall preclude any Party from

using its own Confidential Information or Highly Confidential Information in any manner it

sees fit, without prior consent of any Party or the Court.

       46.       To the extent that a Producing Party uses or discloses to a third party its

designated confidential information in a manner that causes the information to lose its

confidential status, the Receiving Party is entitled to notice of the Producing Party’s use of

the confidential information in such a manner that the information has lost its

confidentiality, and the Receiving Party may also use the information in the same manner

as the Producing Party.

       47.       If a Receiving Party learns of any unauthorized disclosure of Confidential

Information or Highly Confidential Information, it shall immediately (a) inform the

Producing Party in writing of all pertinent facts relating to such disclosure; (b) make its

best effort to retrieve all copies of the Confidential Information or Highly Confidential

Information; (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Protective Order; and (d) request such person or persons

execute the Acknowledgment that is attached hereto as Exhibit A.
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       48.        Unless otherwise agreed or ordered, this Protective Order shall remain in

force after dismissal or entry of final judgment not subject to further appeal of this

Litigation.

       49.        Within ninety (90) days after dismissal or entry of final judgment not

subject to further appeal of this Litigation, or such other time as the Producing Party may

agree in writing, the Receiving Party shall return all Confidential Information and Highly

Confidential Information under this Protective Order unless: (1) the document has been

offered into evidence or filed without restriction as to disclosure; (2) the Parties agree to

destruction to the extent practicable in lieu of return;1 or (3) as to documents bearing the

notations, summations, or other mental impressions of the Receiving Party, that Party

elects to destroy the documents and certifies to the producing party that it has done so.

       50.        Notwithstanding the above requirements to return or destroy documents,

Plaintiffs’ outside counsel and Defendants’ outside counsel may retain (1) any materials

required to be retained by law or ethical rules, (2) one copy of their work file and work

product, and (3) one complete set of all documents filed with the Court including those

filed under seal, deposition and trial transcripts, and deposition and trial exhibits. Any

retained Confidential or Highly Confidential Discovery Material shall continue to be

protected under this Protective Order. An attorney may use his or her work product in

subsequent litigation, provided that the attorney’s use does not disclose or use

Confidential Information or Highly Confidential Information.

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  The parties may choose to agree that the Receiving Party shall destroy documents containing
Confidential Information or Highly Confidential Information and certify the fact of
destruction, and that the Receiving Party shall not be required to locate, isola te and return e-
mails (including attachments to e-mails) that may include Confidential Information or Highly
Confidential Information, or Confidential Information or Highly Confidential Information contained
in deposition transcripts or drafts or final expert reports.

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      VIII.   Changes in Designation of Information

      51.        If a Party through inadvertence produces any Confidential Information or

Highly Confidential Information without labeling or marking or otherwise designating it as

such in accordance with the provisions of this Protective Order, the Producing Party may

give written notice to the Receiving Party that the document or thing produced is deemed

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” and should be treated as such in

accordance with the provisions of this Protective Order, and provide replacement media,

images, and any associated production information to conform the document to the

appropriate designation and facilitate use of the revised designation in the production. The

Receiving Party must treat such documents and things with the noticed level of protection

from the date such notice is received. Disclosure, prior to the receipt of such notice of

such information, to persons not authorized to receive such information shall not be

deemed a violation of this Protective Order. Any Producing Party may designate as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” or withdraw a “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL” designation from any material that it has produced consistent

with this Protective Order, provided, however, that such redesignation shall be effective

only as of the date of such redesignation. Such redesignation shall be accomplished by

notifying Counsel for each Party in writing of such redesignation and providing

replacement images bearing the appropriate description, along with the replacement

media, images, and associated production information referenced above. Upon receipt of

any redesignation and replacement image that designates material as “CONFIDENTIAL”

or “HIGHLY CONFIDENTIAL”, the Receiving Party shall (i) treat such material in

accordance with this Protective Order; (ii) take reasonable steps to notify any persons

known to have possession of any such material of such redesignation under this
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Protective Order; and (iii) promptly endeavor to procure all copies of such material from

any persons known to have possession of such material who are not entitled to receipt

under this Protective Order. It is understood that the Receiving Party’s good faith efforts to

procure all copies may not result in the actual return of all copies of such materials.

       52.       A Receiving Party does not waive its right to challenge a confidentiality

designation by electing not to mount a challenge promptly after the original designation is

disclosed. If the Receiving Party believes that portion(s) of a document are not properly

designated as Confidential Information or Highly Confidential Information, the Receiving

Party will identify the specific information that it believes is improperly designated and

notify the Producing Party, in writing or voice-to-voice dialogue, of its good faith belief that

the confidentiality designation was not proper and must give the Producing Party an

opportunity to review the designated material, to reconsider the circumstances, and, if no

change in designation is offered, to explain, in writing within seven (7) days, the basis of

the chosen designation.       If a Receiving Party elects to press a challenge to a

confidentiality designation after considering the justification offered by the Producing

Party, it shall notify the Producing Party and the Receiving Party shall have seven (7) days

from such notification to challenge the designation by commencing a discovery dispute

under the procedures set forth in Section 9(o) of Case Management Order One. The

ultimate burden of persuasion in any such challenge proceeding shall be on the Producing

Party as if the Producing Party were seeking a Protective Order pursuant to Fed. R. Civ.

P. 26(c) in the first instance. Until the Court rules on the challenge, all Parties shall

continue to afford the material in question the level of protection to which it is entitled

under the Producing Party’s designation. In the even that a designation is changed by the

Producing Party or by Court Order, the Producing Party shall provide replacement media,

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images, and associated production information as provided above.

       IX. Inadvertent Production of Documents

       53.       Non-Waiver of Privilege. The parties agree that they do not intend to

disclose information subject to a claim of attorney-client privilege, attorney work product

protection, common-interest privilege, or any other privilege, immunity or protection from

production or disclosure (“Privileged Information”). If, nevertheless, a Producing Party

discloses Privileged Information, such disclosure (as distinct from use) shall be deemed

inadvertent without need of further showing under Federal Rule of Evidence 502(b) and

shall not constitute or be deemed a waiver or forfeiture of the privilege or protection from

discovery in this case or in any other federal or state proceeding by that party (the

“Disclosing Party”). This Section shall be interpreted to provide the maximum protection

allowed by Federal Rule of Evidence 502(d).

       54.       Notice of Production of Privileged Information. If a Party or non-Party

discovers that it has produced Privileged Information, it shall promptly notify the Receiving

Party of the production in writing, shall identify the produced Privileged Information by

Bates range where possible, and may demand that the Receiving Party return or destroy

the Privileged Information. In the event that a Receiving Party receives information that it

believes is subject to a good faith claim of privilege by the Designating Party, the

Receiving Party shall immediately refrain from examining the information and shall

promptly notify the Designating Party in writing that the Receiving Party possesses

potentially Privileged Information. The Designating Party shall have seven (7) days to

assert privilege over the identified information. If the Designating Party does not assert a

claim of privilege within the 7-day period, the information in question shall be deemed non-

privileged.
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        55.       Recall of Privileged Information. If the Designating Party has notified the

Receiving Party of production, or has confirmed the production called to its attention by

the Receiving Party, the Receiving Party shall within fourteen (14) days of receiving such

notification or confirmation: (1) destroy or return to the Designating Party all copies or

versions of the produced Privileged Information requested to be returned or destroyed; (2)

delete from its work product or other materials any quoted or paraphrased portions of the

produced Privileged Information; and (3) ensure that produced Privileged Information is

not disclosed in any manner to any Party or non-Party. The following procedures shall be

followed to ensure all copies of such ESI are appropriately removed from the Receiving

Party’s system:

                   i. Locate each recalled document in the document review/production

database and delete the record from the database;

                  ii. If there is a native file link to the recalled document, remove the native

file from the network path;

                  iii. If the database has an image load file, locate the document image(s)

loaded into the viewing software and delete the image file(s) corresponding to the recalled

documents. Remove the line(s) corresponding to the document image(s) from the image

load file;

                  iv. Apply the same process to any additional copies of the document or

database, where possible;

                  v. Locate and destroy all other copies of the document, whether in

electronic or hardcopy form. To the extent that copies of the document are contained on

write-protected media, such as CDs or DVDs, these media shall be discarded, with the

exception of production media received from the recalling party, which shall be treated as

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described herein;

                 vi. If the document was produced in a write-protected format, the party

seeking to recall the document shall, at its election, either (i) provide a replacement copy of

the relevant production from which the document has been removed, in which case the

receiving party shall discard the original production media; or (ii) allow the receiving party to

retain the original production media, in which case the receiving party shall take steps to

ensure that the recalled document will not be used; and

                 vii. Confirm that the recall of ESI under this procedure is complete by way

of letter to the party seeking to recall ESI.

       56.        Notwithstanding the above, the Receiving Party may segregate and

retain one copy of the clawed back information solely for the purpose of disputing the

claim of privilege. The Receiving Party shall not use any produced Privileged Information

in connection with this Litigation or for any other purpose other than to dispute the claim of

privilege. The Receiving Party may file a motion disputing the claim of privilege and

seeking an order compelling production of the material at issue; the Designating Party

may oppose any such motion, including on the grounds that inadvertent disclosure does

not waive privilege.

       57.        Within 14 days of the notification that such Privileged Information has

been returned, destroyed, sequestered, or deleted (“Clawed-Back Information”), the

Disclosing Party shall produce a privilege log with respect to the Clawed-Back Information.

Within 14 days after receiving the Disclosing Party’s privilege log with respect to such

Clawed-Back Information, a receiving party may notify the Disclosing Party in writing of an

objection to a claim of privilege or work-product protection with respect to the Clawed-

Back Information. Within 14 days of the receipt of such notification, the Disclosing Party

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and the objecting party shall meet and confer in an effort to resolve any disagreement

concerning the Disclosing Party’s privilege or work-product claim with respect to such

Clawed-Back Information. The parties may stipulate to extend the time periods set forth in

this paragraph.

       58.        If, for any reason, the Disclosing Party and Receiving Party (or parties)

do not resolve their disagreement after conducting the mandatory meet and confer, the

Receiving Party may request a conference with the Court pursuant to the procedures set

forth in Case Management Order One.            The Disclosing Party bears the burden of

establishing the privileged or protected nature of any Privileged Information.

       59.        Nothing contained herein is intended to or shall serve to limit a party’s

right to conduct a review of documents, ESI or information (including metadata) for

relevance, responsiveness and/or segregation of privileged and/or protected information

before production. Nothing in this Order shall limit the right to request an in-camera

review of any Privileged Information.

       60.        In the event any prior order or agreement between the parties and/or

between the parties and a non-party concerning the disclosure of privileged and/or work

product protected materials conflicts with any of the provisions of this Order, the

provisions of this Stipulated Order shall control.

       61.        Nothing in this Order overrides any attorney’s ethical responsibilities to

refrain from examining or disclosing materials that the attorney knows or reasonably

should know to be privileged and to inform the Disclosing Party that such materials have

been produced.

       X. Filing and Use at Trial of Protected Material

       62.        Only Confidential or Highly Confidential portions of relevant documents
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are subject to sealing. To the extent that a brief, memorandum, or pleading references any

document designated as Confidential or Highly Confidential, then the brief, memorandum

or pleading shall refer the Court to the particular exhibit filed under seal without disclosing

the contents of any confidential information. If, however, the confidential information must

be intertwined within the text of the document, a party may timely move the Court for leave

to file both a redacted version for the public docket and an unredacted version for sealing.

       63.        Absent    a   Court-granted       exception   based   upon     extraordinary

circumstances, any and all filings made under seal shall be submitted electronically and

shall be linked to this Stipulated Protective Order or other relevant authorizing order. If

both redacted and unredacted versions are being submitted for filing, each version shall

be clearly named so there is no confusion as to why there are two entries on the docket

for the same filing.

       64.        If the Court has granted an exception to electronic filing, a sealed filing

shall be placed in a sealed envelope marked “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER.” The sealed envelope shall display the case name and number, a

designation as to what the document is, the name of the party on whose behalf it is

submitted, and the name of the attorney who has filed the sealed document. A copy of this

Stipulated Protective Order, or other relevant authorizing order, shall be included in the

sealed envelope.

       65.        A Party that intends to present Confidential Information or Highly

Confidential Information at a hearing shall bring that issue to the Court’s and Parties’

attention without disclosing the Confidential Information or Highly Confidential Information.

The Court may thereafter make such orders, including any stipulated orders, as are

necessary to govern the use of Confidential Information or Highly Confidential Information

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at the hearing. The use of any Confidential Information or Highly Confidential Information

at trial shall be governed by a separate stipulation and/or court order.

       XI. Information or Highly Confidential Information Requested by Third Party;
           Procedure Following Request.

       66.       If any person receiving Discovery Material covered by this Protective

Order (the “Receiver”) is served with a subpoena, a request for information, or any other

form of legal process that purports to compel disclosure of any Confidential Information or

Highly Confidential Information covered by this Protective Order (“Request”), the Receiver

must so notify the Designating Party, in writing, immediately and in no event more than

five (5) court days after receiving the Request. Such notification must include a copy of the

Request.

       67.       The Receiver also must immediately inform the party who made the

Request (“Requesting Party”) in writing that some or all the requested material is the

subject of this Protective Order. In addition, the Receiver must deliver a copy of this

Protective Order promptly to the Requesting Party.

       68.       The purpose of imposing these duties is to alert the interested persons to

the existence of this Protective Order and to afford the Designating Party in this case an

opportunity to protect its Confidential Information or Highly Confidential Information. The

Designating Party shall bear the burden and the expense of seeking protection of its

Confidential Information or Highly Confidential Information, and nothing in these provisions

should be construed as authorizing or encouraging the Receiver in this Litigation to

disobey a lawful directive from another court. The obligations set forth in this paragraph

remain in effect while the Receiver has in its possession, custody or control Confidential

Information or Highly Confidential Information by the other Party in this Litigation.


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      69.        Materials that have been designated as Confidential or Highly

Confidential Discovery Material shall not be provided or disclosed to any third party in

response to a request under any public records act, or any similar federal, state or

municipal law (collectively, the “Public Disclosure Laws”), and are exempt from disclosure

pursuant to this Protective Order. If a Party to this Litigation receives such a request, it

shall (i) provide a copy of this Protective Order to the Requesting Party and inform it that

the requested materials are exempt from disclosure and that the Party is barred by this

Protective Order from disclosing them, and (ii) promptly inform the Designating Party that

has produced the requested material that the request has been made, identifying the

name of the Requesting Party and the particular materials sought. If the Designating

Party seeks a protective order, the Receiving Party shall not disclose such material until

the Court has ruled on the request for a protective order. The restrictions in this

paragraph shall not apply to materials that (i) the Designating Party expressly consents in

writing to disclosure; or (ii) this Court has determined by court order to have been

improperly designated as Confidential or Highly Confidential Discovery Material. The

provisions of this section shall apply to any entity in receipt of Confidential or Highly

Confidential Discovery Material governed by this Protective Order. Nothing in this

Protective Order shall be deemed to (1) foreclose any Party from arguing that Discovery

Material is not a public record for purposes of the Public Disclosure Laws; (2) prevent any

Party from claiming any applicable exemption to the Public Disclosure Laws; or (3) limit

any arguments that a Party may make as to why Discovery Material is exempt from

disclosure.




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       XII.HIPAA-Protected Information


       70.       General. Discovery in this Litigation may involve production of “Protected

Health Information” as that term is defined and set forth in 45 C.F.R. § 160.103, for which

special protection from public disclosure and from any purpose other than prosecuting this

Action is warranted

       71.       “Protected Health Information” shall encompass information within the

scope and definition set forth in 45 C.F.R. § 160.103 that is provided to the Parties by a

covered entity as defined by 45 C.F.R. § 160.103 (“Covered Entities”) or by a business

associate of a Covered Entity as defined by 45 C.F.R. § 160.103 (“Business Associate”) in

the course of the Litigation, as well as information covered by the privacy laws of any

individual states, as applicable.

       72.       Any Party who produces Protected Health Information in this Litigation

shall designate such discovery material “Confidential Protected Health Information” in

accordance with the provisions of this Protective Order.

       73.       Unless otherwise agreed between counsel for the Parties, the

designation of discovery material as “Confidential Protected Health Information” shall be

made at the following times: (a) for documents or things at the time of the production of

the documents or things; (b) for declarations, correspondence, expert witness reports,

written discovery responses, court filings, pleadings, and other documents, at the time of

the service or filing, whichever occurs first; (c) for testimony, at the time such testimony is

given by a statement designating the testimony as “Confidential Protected Health

Information” made on the record or within thirty (30) days after receipt of the transcript of

the deposition. The designation of discovery material as “Confidential Protected Health


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Information” shall be made in the following manner: (a) or documents, by placing the

notation “Confidential Protected Health Information” or similar legend on each page of

such document; (b) for tangible things, by placing the notation “Confidential Protected

Health Information” on the object or container thereof or if impracticable, as otherwise

agreed by the parties; (c) for declarations, correspondence, expert witness reports, written

discovery responses, court filings, pleadings, and any other documents containing

Protected Health Information, by placing the notation “Confidential Protected Health

Information” both on the face of such document and on any particular designated pages of

such document; and (d) for testimony, by orally designating such testimony as being

“Confidential Protected Health Information” at the time the testimony is given or by

designating the portions of the transcript in a letter to be served on the court reporter and

opposing counsel within thirty (30) calendar days after receipt of the certified transcript of

the deposition.

       74.        Pursuant to 45 C.F.R. § 164.512(e)(1), all Covered Entities and their

Business Associates (as defined in 45 C.F.R. § 160.103), or entities in receipt of

information from such entities, are hereby authorized to disclose Protected Health

Information pertaining to the Action to those persons and for such purposes as designated

in herein.   Further, all Parties that are entities subject to state privacy law requirements,

or entities in receipt of information from such entities, are hereby authorized to disclose

Protected Health Information pertaining to this Action to those persons and for such

purposes as designated in herein. The Court has determined that disclosure of such

Protected Health Information is necessary for the conduct of proceedings before it and

that failure to make the disclosure would be contrary to public interest or to the detriment

of one or more parties to the proceedings.

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       75.        The Parties shall not use or disclose Protected Health Information for any

purpose other than the Litigation, including any appeals. The Parties may, inter alia,

disclose Protected Health Information to (a) counsel for the Parties and employees of

counsel who have responsibility for the Litigation; (b) the Court and its personnel; (c) Court

reporters; (d) experts and consultants; and (e) other entities or persons involved in the

Litigation.

       76.        Within sixty days after dismissal or entry of final judgment not subject to

further appeal, the Parties, their counsel, and any person or entity in possession of

Protected Health Information received pursuant to this Order shall destroy or return to the

Covered Entity or Business Associate such Protected Health Information.

       77.        Nothing in this Order authorizes the parties to obtain Protected Health

Information through means other than formal discovery requests, subpoenas, depositions,

pursuant to a patient authorization, or any other lawful process.

   XIII. Information Subject to Existing Obligation of Confidentiality Independent of
   this Protective Order.

       78.        In the event that a Party is required by a valid discovery request to

produce any information held by it subject to an obligation of confidentiality in favor of a

third party, the Party shall, promptly upon recognizing that such third party’s rights are

implicated, provide the third party with a copy of this Protective Order and (i) inform the

third party in writing of the Party’s obligation to produce such information in connection

with this Litigation and of its intention to do so, subject to the protections of this Protective

Order; (ii) inform the third party in writing of the third party’s right within fourteen (14) days

to seek further protection or other relief from the Court if, in good faith, it believes such

information to be confidential under the said obligation and either objects to the Party’s


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production of such information or regards the provisions of this Protective Order to be

inadequate; and (iii) seek the third party’s consent to such disclosure if that third party

does not plan to object.       Thereafter, the Party shall refrain from producing such

information for a period of fourteen (14) days in order to permit the third party an

opportunity to seek relief from the Court, unless the third party earlier consents to

disclosure. If the third party fails to seek such relief, the Party shall promptly produce the

information in question subject to the protections of this Protective Order, or alternatively,

shall promptly seek to be relieved of this obligation or for clarification of this obligation by

the Court.

       XIV.   Miscellaneous Provisions

       79.        Nothing in this Order or any action or agreement of a party under this

Order limits the Court’s power to make any orders that may be appropriate with respect to

the use and disclosure of any documents produced or use in discovery or at trial.

       80.        Nothing in this Protective Order shall abridge the right of any person to

seek judicial review or to pursue other appropriate judicial action to seek a modification or

amendment of this Protective Order.

       81.        In the event anyone shall violate or threaten to violate the terms of this

Protective Order, the Producing Party may immediately apply to obtain injunctive relief

against any person violating or threatening to violate any of the terms of this Protective

Order, and in the event the Producing Party shall do so, the respondent person, subject to

the provisions of this Protective Order, shall not employ as a defense thereto the claim

that the Producing Party possesses an adequate remedy at law.

       82.        This Protective Order shall not be construed as waiving any right to

assert a claim of privilege, relevance, or other grounds for not producing Discovery
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Material called for, and access to such Discovery Material shall be only as provided for by

separate agreement of the Parties or by the Court.

         83.       This Protective Order may be amended without leave of the Court by

agreement of Outside Counsel for the Parties in the form of a written stipulation filed with

the Court. The Protective Order shall continue in force until amended or superseded by

express order of the Court, and shall survive and remain in effect after the termination of

this Litigation.

         84.       Notwithstanding any other provision in the Order, nothing in this

Protective Order shall affect or modify Defendants’ ability to review Plaintiffs’ information

and report such information to any applicable regulatory agencies.

         85.       This Order is entered based on the representations and agreements of

the parties and for the purpose of facilitating discovery. Nothing herein shall be construed

or presented as a judicial determination that any documents or information designated as

Confidential or Highly Confidential by counsel or the parties is subject to protection under

Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

         IT IS SO ORDERED.


Dated:     5/15/18                                   /s/Dan Aaron Polster
                                                   Honorable Dan Aaron Polster
                                                   United States District Judge




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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                               Case No.: 1:17-md-2804-DAP

 This document relates to:                       Honorable Dan Aaron Polster

 All Cases




               EXHIBIT A TO CASE MANAGEMENT ORDER NO. ________

  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

       The undersigned agrees:

       I declare under penalty of perjury that I have read in its entirety and understand the

Protective Order (CMO No. __) that was issued by the United States District Court for the

Northern District of Ohio on                  , 2018 in In re: National Prescription Opiate

Litigation (the “Protective Order”).

       I agree to comply with and to be bound by all the terms of the Protective Order, and

I understand and acknowledge that failure to so comply could expose me to sanctions and

punishment in the nature of contempt. I solemnly promise that I will not disclose in any

manner any information or item that is subject to the Protective Order to any person or

entity except in strict compliance with the provisions of the Protective Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

Northern District of Ohio for the purposes of enforcing terms of the Protective Order, even

if such enforcement proceedings occur after termination of these proceedings.




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Date:

City and State where sworn and signed:

Printed Name:


Signature:




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